                             1    WEIL, GOTSHAL & MANGES LLP
                                  Stephen Karotkin (pro hac vice)
                             2    (stephen.karotkin@weil.com)
                                  Ray C. Schrock, P.C. (pro hac vice)
                             3
                                  (ray.schrock@weil.com)
                             4    Jessica Liou (pro hac vice)
                                  (jessica.liou@weil.com)
                             5    Matthew Goren (pro hac vice)
                                  (matthew.goren@weil.com)
                             6    767 Fifth Avenue
                                  New York, NY 10153-0119
                             7
                                  Tel: 212 310 8000
                             8    Fax: 212 310 8007

                             9    Attorneys for Debtors
                                  and Debtors in Possession
                             10

                             11                               UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                             12                                    SAN FRANCISCO DIVISION
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13
                                   In re:                                              Bankruptcy Case No. 19-30088 (DM)
      767 Fifth Avenue




                             14
                                   PG&E CORPORATION,                                   Chapter 11
                             15
                                            - and –                                    (Lead Case)
                             16
                                   PACIFIC GAS AND ELECTRIC                            (Jointly Administered)
                             17    COMPANY,
                                                                                       SUMMARY SHEET TO FIRST
                             18                            Debtors.                    INTERIM FEE APPLICATION OF
                                                                                       WEIL, GOTSHAL & MANGES LLP
                             19     Affects PG&E Corporation                          FOR ALLOWANCE AND PAYMENT OF
                                    Affects Pacific Gas and Electric Company          COMPENSATION AND REIMBURSEMENT
                             20     Affects both Debtors                              OF EXPENSES FOR THE PERIOD
                                                                                       JANUARY 29, 2019 THROUGH AND
                             21    * All papers shall be filed in the Lead Case No.    INCLUDING APRIL 30, 2019
                                   19-30088 (DM).
                             22                                                        Date:    September 25, 2019
                                                                                       Time:    9:30 a.m. (Pacific Time)
                             23                                                        Place:   United States Bankruptcy Court
                                                                                                Courtroom 17, 16th Floor
                             24                                                                 San Francisco, CA 94102
                             25
                                                                                       Objection Deadline: August 5, 2019, at
                             26                                                                            4:00 p.m. (Pacific Time)

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                              Case: 19-30088          Doc# 2988   Filed: 07/15/19     Entered: 07/15/19 17:17:14    Page 1 of
                                                                              35
                             1        General Information
                             2        Name of Applicant:                                 Weil, Gotshal & Manges LLP (“Weil”)
                             3        Authorized to Provide                              Attorneys for Debtors and Debtors in Possession
                                      Professional Services to:
                             4

                             5        Petition Date:                                     January 29, 2019

                             6        Retention Date:                                    April 9, 2019 nunc pro tunc to January 29, 2019

                             7        Prior Applications:                                None

                             8        Summary of Fees and Expenses Sought in this Application

                             9        Time Period Covered by this Application:           January 29, 2019 through and including
                                                                                         April 30, 2019 (the “Compensation Period”) 1
                             10       Amount of Compensation Sought as Actual,
                                      Reasonable, and Necessary for the Compensation     $9,122,288.25
                             11       Period:
                             12       Amount of Expense Reimbursement Sought As
Weil, Gotshal & Manges LLP




                                      Actual, Reasonable, and Necessary for the          $335,824.67
 New York, NY 10153-0119




                             13
                                      Compensation Period:
      767 Fifth Avenue




                             14
                                      Total Compensation and Expenses Requested for
                             15       the Compensation Period:                           $9,458,122.92
                             16
                                      Total Fees and Expenses Allowed Pursuant to Prior Applications
                             17
                                      Total Allowed Compensation Paid to Date:            N/A
                             18
                                      Total Allowed Expenses Paid to Date:                N/A
                             19
                                      Total Allowed Compensation and Expenses Paid        N/A
                             20       to Date

                             21       Total Fees and Expenses Paid to Applicant Pursuant to Monthly Statements, but Not Yet Allowed
                             22       Compensation Sought in this Application Already
                                      Paid Pursuant to the Interim Compensation Order
                             23       but Not Yet Allowed (80% of Fees in February        $2,507,154.00
                             24       Monthly Statement):

                             25   1
                                    Pursuant to the Interim Compensation Order (as defined below), the initial Compensation Period was
                                  to include the period from the Petition Date through and including May 31, 2019. As of the date hereof,
                             26   however, Weil has not yet filed its Monthly Fee Statement (as defined in the Interim Compensation
                                  Order) for services rendered and reimbursement of expenses for the calendar month of May 2019.
                             27   Accordingly, the Compensation Period for this Application includes only the period from the Petition
                                  Date through and including April 30, 2019, and any fees and expenses incurred by Weil for the month
                             28   of May 2019 will be included in Weil’s next Interim Fee Application.

                              Case: 19-30088           Doc# 2988   Filed: 07/15/19     Entered: 07/15/19 17:17:14     Page 2 of
                                                                               35
                             1    Expenses Sought in this Application Already Paid       $113,433.45
                                  Pursuant to the Interim Compensation Order but
                             2    Not Yet Allowed (100% of Expenses in February
                                  Monthly Statement):
                             3

                             4    Summary of Fees and Expenses Sought in this Application
                             5    Total Compensation and Expenses Sought in this        $2,620,587.45
                                  Application Already Paid Pursuant to the Interim
                             6    Compensation Order but Not Yet Allowed:
                             7
                                  Total Compensation and Expenses Sought in this        $6,837,525.47
                             8    Application Not Yet Paid:

                             9    Summary of Rates and Other Related Information in this Application
                             10   Blended Rate in this Application for All              $966.99
                                  Attorneys:
                             11

                             12   Blended Rate in this Application for All              $953.49
                                  Timekeepers:
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13
                                  Number of Timekeepers Included in this                58 (52 attorneys; 6 paraprofessionals and other
      767 Fifth Avenue




                             14   Application:                                          non-legal staff)
                             15
                                  Number of Attorneys in this Application Not           N/A
                             16   Included in Staffing Plan Approved by Client:

                             17   Difference Between Fees Budgeted and                  The compensation sought is less than the
                                  Compensation Sought for this Period:                  aggregate fees budgeted for Weil in the
                             18                                                         debtor-in-possession financing budget for
                                                                                        the Compensation Period.
                             19

                             20   Number of Attorneys Billing Fewer than 15             9 attorneys
                                  Hours to the Cases During the Compensation
                             21   Period:
                             22   Increase in Rates:                                    N/A
                             23

                             24   This is a(n):   X    Interim ____ Final Application

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                              Case: 19-30088      Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14       Page 3 of
                                                                             35
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                             4                                     SUMMARY OF PRIOR MONTHLY FEE STATEMENTS
                             5                                     Total Compensation and         Total Amount Previously                                     Holdback
                                      Date Filed                 Expenses Incurred for Period   Requested with Prior Monthly   Total Amount Paid to Date        Fees
                             6                       Period                Covered                     Fee Statement                                          Requested
                                       and Dkt
                                                    Covered
                                         No.
                             7                                       Fees          Expenses
                                                                                                    Fees          Expenses         Fees         Expenses         Fees
                                                                                                  (@ 80%)        (@ 100%)        (@ 80%)       (@ 100%)        (@20%)
                             8        04/16/19
                                                   01/29/2019–
                                      Dkt No.                    $3,133,942.50    $113,433.45   $2,507,154.00    $113,433.45   $2,507,154.00   $113,433.45   $626,788.50
                                                    02/28/19
                             9          1472

                                      06/05/19
                             10       Dkt No.
                                                    03/01/19–
                                                                 $3,035,057.25    $109,952.64   $2,428,045.80    $109,952.64      $0.00           $0.00      $607,011.45
                                                    03/31/19
                                        2418
                             11
                                      07/12/19
                                                    04/01/19–
                             12       Dkt No.                    $2,953,288.50    $112,438.58   $2,362,630.60    $112,438.58      $0.00           $0.00      $590,657.90
                                                    04/30/19
                                        2954
Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




                             13         Total:                   $9,122,288.25    $335,824.67   $7,297,830.40    $335,824.67   $2,507,154.00   $113,433.45   $1,824,457.85
      767 Fifth Avenue




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                             15                    Summary of Any Objections to Monthly Fee Statements:         None. 2
                                                   Compensation and Expenses Sought in this Application Not Yet Paid: $6,837,525.47
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                                   The objection deadline with respect to Weil’s Third Monthly Fee Statement is August 1, 2019. If the
                                  deadline passes without objection, the Debtors will remit $2,362,630.60 in compensation for fees and
                             28   $112,438.58 in reimbursement of expenses.

                              Case: 19-30088              Doc# 2988          Filed: 07/15/19         Entered: 07/15/19 17:17:14                 Page 4 of
                                                                                         35
                             1                                    COMPENSATION BY PROFESSIONAL
                                                        JANUARY 29, 2019 THROUGH AND INCLUDING APRIL 30, 2019
                             2
                                          The attorneys who rendered professional services in these Chapter 11 Cases during the
                             3            Compensation Period are:

                             4
                                            NAME OF
                             5            PROFESSIONAL                            YEAR
                                                                                                 HOURLY      TOTAL
                                                                                                                           TOTAL
                                                               DEPARTMENT 3                      BILLING     HOURS
                                         (PARTNERS AND                          ADMITTED                                COMPENSATION
                             6              COUNSEL)
                                                                                                  RATE       BILLED

                             7          Karotkin, Stephen            BFR            1977         $1,600.00   833.80      $1,186,640.00
                                        Bond, W. Michael         Corporate          1980         $1,600.00   117.80       $188,480.00
                             8
                                        Goldring, Stuart J.          Tax            1984         $1,600.00   156.10       $211,680.00
                             9
                                        Radin, Stephen A.        Litigation         1984         $1,450.00    7.30         $10,585.00
                             10         Slack, Richard W.        Litigation         1987         $1,275.00   249.90       $302,812.50

                             11         Wessel, Paul J.              Tax            1988         $1,600.00    50.70        $81,120.00
                                        Pari, Joseph M.              Tax            1988         $1,600.00    79.90       $127,840.00
                             12
                                        Connolly,                                  1988
Weil, Gotshal & Manges LLP




                                                                 Corporate                       $1,350.00    37.20        $50,220.00
 New York, NY 10153-0119




                             13         Annemargaret                           (Massachusetts)
                                        Pappas, Nicholas J.      Litigation         1989         $1,225.00    5.50         $6,737.50
      767 Fifth Avenue




                             14
                                        Adams, Frank R.          Corporate          1993         $1,425.00    90.10       $128,392.50
                             15
                                        Tsekerides,
                                                                 Litigation         1994         $1,150.00   197.60       $222,927.50
                                        Theodore E.
                             16
                                        Heyliger, Adelaja K.     Corporate          1998         $1,100.00    10.30        $11,330.00
                             17
                                        Singh, David R.          Litigation         2004         $1,125.00   272.40       $306,450.00
                             18         Friedmann, Jared R.      Litigation         2004         $1,125.00    5.50         $6,187.50

                             19         Liou, Jessica                BFR            2009         $1,075.00   606.80       $603,773.75
                                        Shulzhenko,
                             20                                  Corporate          2000         $1,050.00    15.90        $16,695.00
                                        Oleksandr (Counsel)

                             21         Morton, Matthew D.
                                                                 Litigation         2001         $1,050.00    18.30        $19,215.00
                                        (Counsel)
                             22         Kim, Dawn
                                                                 Corporate          2003         $1,050.00    3.90         $4,095.00
                                        (Counsel)
                             23
                                        Goslin, Thomas
                                                                 Corporate          2003         $1,050.00   119.90       $125,895.00
                             24         (Counsel)
                                        Goren, Matthew
                             25                                      BFR            2007         $1,075.00   798.70       $818,370.50
                                        (Counsel)
                             26         Total:                                                               3,677.60    $4,429,446.75

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                                  3
                                      BFR – Business Finance & Restructuring
                              Case: 19-30088             Doc# 2988    Filed: 07/15/19   Entered: 07/15/19 17:17:14      Page 5 of
                                                                                  35
                             1               NAME OF                                                        TOTAL
                                                                                 YEAR           HOURLY                   TOTAL
                                          PROFESSIONAL         DEPARTMENT 4                                 HOURS
                                                                               ADMITTED      BILLING RATE             COMPENSATION
                             2             (ASSOCIATES)                                                     BILLED
                                        Friedman, Julie T.           BFR          2003          $600.00      61.90       $37,140.00
                             3
                                        Byrne, Peter M.          Corporate        2007          $995.00     140.60      $139,897.00
                             4
                                        Zubkis, David                BFR          2008          $950.00      58.50       $55,575.00
                             5          Seales, Jannelle
                                                                 Corporate        2009          $995.00      56.40       $56,118.00
                                        Marie
                             6
                                        Tran, Hong-An
                                                                 Litigation       2009          $995.00     437.00      $434,815.00
                             7          Nguyen
                                        Kramer, Kevin            Litigation       2010          $995.00     587.60      $577,100.00
                             8
                                        Silber, Gary                 Tax          2011          $995.00      54.20       $53,929.00
                             9          Bostel, Kevin                BFR          2012          $995.00     333.90      $323,275.50

                             10         Cunningham, Nathan       Litigation       2012          $950.00      8.00        $7,600.00
                                        Minga, Jay               Litigation       2013          $950.00     208.30      $197,885.00
                             11
                                        Nikic, Nicholas G.       Corporate        2013          $790.00      5.00        $3,950.00
                             12
                                        Georgallas, Andriana         BFR          2014          $980.00      41.90       $35,182.00
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 New York, NY 10153-0119




                             13         Fink, Moshe A.               BFR          2014          $950.00     175.70      $166,915.00
      767 Fifth Avenue




                             14         Jones, Hannah L.         Litigation       2014          $920.00     217.00      $197,110.00
                                        Nolan, John J.           Litigation       2015          $920.00     294.60      $269,652.00
                             15
                                        Butler, Ashley Jane      Corporate        2015          $920.00      21.00       $19,320.00
                             16                                                   2015
                                        Africk, Max M.           Litigation                     $875.00     330.20      $281,662.50
                                                                               (Louisiana)
                             17
                                        Brookstone,
                                                                     Tax          2015          $875.00     159.70      $139,737.50
                             18         Benjamin
                                        Golster, Jonathan        Corporate        2011          $875.00      20.40       $17,850.00
                             19
                                        Pfleger, Kelsey Ann      Corporate        2016          $875.00      24.30       $21,262.50
                             20         Pitcher, Justin R.           BFR       2016 (Utah)      $790.00     139.30      $110,047.00
                             21         Kleinjan, John M.            Tax          2017          $790.00      39.80       $31,442.00
                                        Foust, Rachel L.             BFR          2018          $690.00     425.60      $293,664.00
                             22
                                        Neuhauser, David         Corporate        2018          $690.00      48.70       $33,603.00
                             23
                                        Schinckel, Thomas                        2014
                                                                     BFR                        $690.00     351.20      $242,328.00
                                        Robert                                 (Australia)
                             24
                                        Shaddy, Aaron            Litigation       2018          $690.00     573.80      $391,713.00
                             25
                                        Zangrillo, Anthony       Corporate        2018          $690.00      23.40       $16,146.00
                             26         Carens, Elizabeth
                                                                     BFR          2018          $560.00     566.50      $317,240.00
                                        Anne
                             27

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                                  4
                                      BFR – Business Finance & Restructuring
                              Case: 19-30088             Doc# 2988    Filed: 07/15/19    Entered: 07/15/19 17:17:14   Page 6 of
                                                                                  35
                             1      Gitlin, Adam            Litigation      2019         $560.00       6.60         $3,696.00

                             2      Green, Austin Joseph    Litigation      2019         $560.00       15.10        $8,456.00
                                                                            2018
                             3      Irani, Neeckaum         Litigation                   $560.00       6.40         $3,584.00
                                                                         (California)

                             4      Evans, Steven           Litigation      2019         $560.00      265.00       $148,400.00
                                    Total:                                                            5,697.60    $4,636,295.00
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Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




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      767 Fifth Avenue




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                              Case: 19-30088        Doc# 2988   Filed: 07/15/19    Entered: 07/15/19 17:17:14    Page 7 of
                                                                            35
                             1           The paraprofessionals and other non-legal staff who rendered professional services in these
                                         Chapter 11 Cases during the Compensation Period are:
                             2

                             3                 NAME OF                                      HOURLY       TOTAL            TOTAL
                                        PARAPROFESSIONALS AND            DEPARTMENT 5       BILLING      HOURS
                             4          OTHER NON-LEGAL STAFF
                                                                                                                       COMPENSATION
                                                                                             RATE        BILLED
                             5         Lee, Kathleen                          BFR            $420.00       23.30           $9,786.00

                             6         Martorell, Jorge                        LSS           $380.00        6.10           $2,318.00
                                       Olvera, Rene A.                        BFR            $355.00        3.50           $1,242.00
                             7
                                       Biratu, Sirak D.                     Litigation       $330.00       46.80           $15,444.00
                             8         Callahan, Antonio                    Corporate        $300.00       13.00           $3,900.00

                             9         Peene, Travis J.                       BFR            $240.00       99.40           $23,856.00

                                       Total:                                                             192.10           $56,546.00
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Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




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      767 Fifth Avenue




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                                      BFR – Business Finance & Restructuring, LSS – Litigation Support Staff
                              Case: 19-30088              Doc# 2988   Filed: 07/15/19    Entered: 07/15/19 17:17:14    Page 8 of
                                                                                  35
                             1            The total fees for the Compensation Period are:

                             2                                                                      TOTAL             TOTAL
                                              PROFESSIONALS                   BLENDED RATE          HOURS
                             3                                                                                     COMPENSATION
                                                                                                    BILLED
                                     Partners and Counsel (20)                    $1,204.44         3,677.60        $4,429,446.75
                             4
                                     Associates (32)                              $813.73           5,697.60        $4,636,295.00
                             5
                                     Paraprofessionals and Other Non-             $294.36            192.10          $56,546.50
                                     Legal Staff (6)
                             6
                                     Blended Attorney Rate                        $966.99
                             7
                                     Blended Rate for All Timekeepers             $953.49
                             8       Total Fees Incurred (58 total
                                     professionals, paraprofessionals, and                          9,567.30        $9,122,288.25
                             9       other non-legal staff):

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 New York, NY 10153-0119




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      767 Fifth Avenue




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                              Case: 19-30088      Doc# 2988         Filed: 07/15/19   Entered: 07/15/19 17:17:14    Page 9 of
                                                                                35
                             1                       COMPENSATION BY PROJECT CATEGORY
                                               JANUARY 29, 2019 THROUGH AND INCLUDING APRIL 30, 2019
                             2
                                  TASK                       PROJECT CATEGORY                                 TOTAL HOURS      AMOUNT
                             3    CODE                                                                          BILLED
                             4      001   Administrative Expense Claims                                           3.50         $2,415.00

                                    002   Asset Sales/363 Sales                                                  75.20         $62,302.50
                             5
                                    003   Automatic Stay                                                         877.70       $805,568.00
                             6
                                    004   Bankruptcy Litigation                                                  966.30       $850,201.50
                             7            Bar Date Motion/Claims Reconciliation/ Claim Reconciliation
                                    005                                                                          202.90       $208,136.50
                                          Issues
                             8
                                    006   Case Administration (docket updates, WIP, and calendar)                176.00        $99,237.50
                             9
                                    008   Chapter 11 Plan/Plan Confirmation                                      50.30         $59,826.50
                             10     009   Communications with Client                                             91.80         $97,325.00

                             11     010   Corporate Governance and Board Issues                                  427.50       $489,384.00

                                    011   Customer, Supplier and Vendor Issues                                   245.20       $241,226.00
                             12
Weil, Gotshal & Manges LLP




                                    012   DIP Financing/Cash Mgmt./Hedging Transactions                          100.00       $103,293.50
 New York, NY 10153-0119




                             13
                                    014   Employee Issues                                                       1,240.20      $1,368,222.00
      767 Fifth Avenue




                             14                                                                                   3.60         $5,655.00
                                    015   Equity Committee
                             15     016   Exclusivity                                                            33.30         $35,731.50

                             16     017   Executory Contracts/Lease Issues                                       344.10       $268,124.00

                                    018   General Case Strategy (includes calls with client and team calls)      580.40       $614,500.50
                             17
                                    019   Hearings and Court Matters                                             401.00       $419,097.50
                             18
                                    020   Legislative Issues/Inverse Reform                                       1.50         $1,612.50
                             19     021   Non-Bankruptcy Litigation                                              156.50       $132,348.00

                             20     022   Non-Working Travel                                                     517.60       $337,907.75

                             21     023   FERC Adversary Proceeding                                              785.50       $689,699.50

                                    024   Reclamation/503(b)(9) Claims                                           61.10         $40,255.50
                             22
                                    025   Regulatory Issues including CPUC and FERC                              188.00       $211,961.50
                             23
                                    026   Retention/Billing/Fee Applications: WGM                                111.00        $74,887.00
                             24     027   Retention/Fee Applications: Ordinary Course Professionals              63.20         $42,637.00

                             25     028   Retention/Fee Applications: Other Professionals                        409.60       $283,017.50

                                    029   Schedules/Statement of Financial Affairs                               52.90         $54,903.50
                             26
                                    030   Tax Issues                                                             430.90       $515,721.00
                             27
                                          U.S. Trustee issues/meetings/ communications/monthly
                                    031                                                                          82.40         $91,414.00
                             28           operating report


                              Case: 19-30088     Doc# 2988         Filed: 07/15/19        Entered: 07/15/19 17:17:14        Page 10
                                                                             of 35
                             1      032     Unsecured Creditor Issues/Communications/Meetings              192.90       $193,288.50

                             2      033     Utility Issues/Adequate Assurance                              21.20         $15,896.00

                                    035     Real Estate and Real Property Issues                           544.00       $569,605.50
                             3
                                    036     Tort Claimants Committee, including Wildfire Claimants         130.00       $136,887.00
                             4
                                   Total:                                                                 9,567.30      $9,122,288.25
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Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




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      767 Fifth Avenue




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                              Case: 19-30088       Doc# 2988        Filed: 07/15/19      Entered: 07/15/19 17:17:14   Page 11
                                                                              of 35
                             1                                   EXPENSE SUMMARY
                                               JANUARY 29, 2019 THROUGH AND INCLUDING APRIL 30, 2019
                             2

                             3                     EXPENSE CATEGORY                             AMOUNT

                                         Computerized Research                                 $110,439.91
                             4
                                         Meals                                                  $5,005.26
                             5
                                         Corporation Services                                    $321.38
                             6
                                         Travel                                                $184,547.60
                             7
                                         Transportation                                         $17,753.77
                             8
                                         Duplicating                                            $15,570.28
                             9
                                         Messenger                                              $1,428.97
                             10
                                         Telephone                                               $285.00
                             11
                                         CourtCall                                               $472.50
                             12
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                                         Total:                                                $335,824.67
 New York, NY 10153-0119




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                              Case: 19-30088      Doc# 2988      Filed: 07/15/19   Entered: 07/15/19 17:17:14   Page 12
                                                                           of 35
                             1    WEIL, GOTSHAL & MANGES LLP
                                  Stephen Karotkin (pro hac vice)
                             2    (stephen.karotkin@weil.com)
                                  Ray C. Schrock, P.C. (pro hac vice)
                             3
                                  (ray.schrock@weil.com)
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                             6    767 Fifth Avenue
                                  New York, NY 10153-0119
                             7
                                  Tel: 212 310 8000
                             8    Fax: 212 310 8007

                             9    Attorneys for Debtors
                                  and Debtors in Possession
                             10

                             11                               UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                             12                                    SAN FRANCISCO DIVISION
Weil, Gotshal & Manges LLP

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                             13
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                             14    In re:                                              Bankruptcy Case No. 19-30088 (DM)

                             15    PG&E CORPORATION,                                   Chapter 11

                             16             - and –                                    (Lead Case)

                             17    PACIFIC GAS AND ELECTRIC                            (Jointly Administered)
                                   COMPANY,
                             18                                                        FIRST INTERIM FEE APPLICATION OF
                                                          Debtors.                     WEIL, GOTSHAL & MANGES LLP FOR
                             19                                                        ALLOWANCE AND PAYMENT OF
                                    Affects PG&E Corporation                          COMPENSATION AND REIMBURSEMENT
                             20     Affects Pacific Gas and Electric Company          OF EXPENSES FOR THE PERIOD
                                    Affects both Debtors                              JANUARY 29, 2019 THROUGH AND
                             21                                                        INCLUDING APRIL 30, 2019
                                   * All papers shall be filed in the Lead Case No.
                             22    19-30088 (DM).                                      Date:    September 25, 2019
                                                                                       Time:    9:30 a.m. (Pacific Time)
                             23                                                        Place:   United States Bankruptcy Court
                                                                                                Courtroom 17, 16th Floor
                             24
                                                                                                San Francisco, CA 94102
                             25
                                                                                       Objection Deadline: August 5, 2019, at
                             26                                                                            4:00 p.m. (Pacific Time)
                             27

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                              Case: 19-30088          Doc# 2988   Filed: 07/15/19     Entered: 07/15/19 17:17:14     Page 13
                                                                            of 35
                             1                   Weil, Gotshal & Manges LLP (“Weil”), attorneys for PG&E Corporation (“PG&E
                             2    Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and debtors in possession
                             3    (collectively, “PG&E” or the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
                             4    Cases”), for its first application (the “Application”), pursuant to sections 330(a) and 331 of title 11 of
                             5    the United States Code (the “Bankruptcy Code”) and Rule 2016 of the Federal Rules of Bankruptcy
                             6    Procedure (the “Bankruptcy Rules”), for the interim allowance of compensation for professional
                             7    services performed by Weil for the period commencing January 29, 2019 through and including April

                             8    30, 2019 (the “Compensation Period”) 1 and for reimbursement of its actual and necessary expenses
                             9    incurred during the Compensation Period, respectfully represents:

                             10                             PRELIMINARY STATEMENT AND CASE STATUS

                             11                  1.       The Debtors’ Chapter 11 Cases represent one of the largest and most complex

                             12   chapter 11 filings in U.S. history. Weil has advised the Debtors regarding the legal and financial
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                             13   challenges facing the Debtors since October 2017. Since that time, Weil has played a critical role in the
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                             14   Debtors’ ongoing efforts to address their liabilities relating to the devastating 2017 and 2018 Northern

                             15   California wildfires and the restructuring of the Debtors’ finances and operations, including the

                             16   significant efforts undertaken to ensure the Debtors’ smooth transition into chapter 11. Specifically,

                             17   during the Compensation Period, Weil worked diligently with the Debtors’ Board of Directors,

                             18   management, and other employees to provide invaluable advice and services that allowed the Debtors to
                             19   prepare and file these Chapter 11 Cases, stabilize their operations, minimize business disruptions, secure

                             20   $5.5 billion in postpetition debtor-in-possession financing, continue their cash management system and

                             21   prepetition financial hedging programs, and address various employee issues (including securing

                             22   approval of a short-term incentive plan that covers approximately 10,000 of the Debtors’ non-insider

                             23   employees), tax matters, supplier concerns, and other operational issues, including issues relating to the

                             24

                             25   1
                                    Pursuant to the Interim Compensation Order (as defined below), the initial Compensation Period was
                                  to include the period from the Petition Date (as defined below) through and including May 31, 2019. As
                             26   of the date hereof, however, Weil has not yet filed its Monthly Fee Statement (as defined in the Interim
                                  Compensation Order) for services rendered and reimbursement of expenses for the calendar month of
                             27   May 2019. Accordingly, the Compensation Period for this Application includes only the period from
                                  the Petition Date through and including April 30, 2019, and any fees and expenses incurred by Weil for
                             28   the month of May 2019 will be included in Weil’s next Interim Fee Application.

                              Case: 19-30088          Doc# 2988   Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 14
                                                                            of 35
                             1    Debtors’ significant and complex array of customer-related and public purpose programs. On behalf of

                             2    the Debtors, Weil has engaged in discussions and negotiations with key economic stakeholders in

                             3    connection with key elements of a potential chapter 11 plan. During the Compensation Period, Weil

                             4    also commenced and defended the Debtors in several adversary proceedings before the Court, including

                             5    proceedings to enjoin the Federal Energy Regulatory Commission (“FERC”) from interfering with the
                             6    Debtors’ ability to assume or reject power purchase and procurement agreements under section 365 of

                             7    the Bankruptcy Code and proceedings to extend the automatic stay to the Debtors’ officers and directors.

                             8                   2.       At the same time, Weil appeared on behalf of the Debtors at various omnibus and

                             9    telephonic hearings, meetings, depositions, and conferences, including the initial and continued meeting

                             10   of creditors under section 341 of the Bankruptcy Code (the “Section 341 Meeting”), and assisted the
                             11   Debtors in the preparation and/or filing of the Debtors’ schedules of assets and liabilities and statements

                             12   of financial affairs (the “Schedules and Statements”), monthly operating reports, 2 the Debtors’ Periodic
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                             13   Report under Bankruptcy Rule 2015.3, and various other pleadings, motions, notices, and filings with
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                             14   the Court.

                             15                  3.       All of these efforts have enabled the Debtors to substantially maintain business as

                             16   usual and minimize the disruptions often attendant to the commencement of a chapter 11 case. Weil and

                             17   the Debtors continue to administer these cases efficiently and economically for the benefit of all of the

                             18   Debtors’ economic stakeholders. Furthermore, Weil has endeavored to monitor and coordinate with the
                             19   other professionals in these Chapter 11 Cases to ensure a clear delineation of each firm’s respective roles

                             20   in connection with the representation of the Debtors in these Chapter 11 Cases and to prevent duplication

                             21   of services. The professional services performed and expenses incurred by Weil were actual and

                             22   necessary to preserve and protect the value of the Debtors’ assets and estates.

                             23                  4.       This Application has been prepared in accordance with the Bankruptcy Code, the

                             24   Bankruptcy Rules, the Bankruptcy Local Rules for the Northern District of California (the “Local
                             25

                             26   2
                                   As set forth in the monthly operating reports for the calendar months ended April 30 and May 31, 2019,
                                  respectively [Docket Nos. 2276 and 2775], the Debtors’ operations have generated a profit of
                             27   approximately $205 million during the Compensation Period and, as of May 31, 2019, the Debtors have
                                  approximately $3.179 billion in cash on hand. The Debtors have advised Weil that, to date, all quarterly
                             28   fees due to the U.S. Trustee have been paid and all monthly operating reports have been filed.

                              Case: 19-30088          Doc# 2988    Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 15
                                                                             of 35
                             1    Rules”), the Order Pursuant to 11 U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority
                             2    to Establish Procedures for Interim Compensation and Reimbursement of Expenses of Professionals

                             3    [Docket No. 701] (the “Interim Compensation Order”), the Guidelines for Compensation and Expense
                             4    Reimbursement of Professionals and Trustees for the Northern District of California, dated February 19,

                             5    2014 (the “Local Guidelines”), and the U.S. Trustee Guidelines for Reviewing Applications for
                             6    Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger

                             7    Chapter 11 Cases, effective November 1, 2013 (the “UST Guidelines,” and, together with the Local
                             8    Guidelines, the “Fee Guidelines”).
                             9                  5.       In light of the size, complexity, and nature of these Chapter 11 Cases, Weil’s

                             10   charges for professional services performed and expenses incurred are reasonable under the applicable

                             11   standards.   Weil respectfully requests that the Court grant the Application and allow interim

                             12   compensation for professional services performed and reimbursement for expenses as requested herein.
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                             13                                              JURISDICTION
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                             14                 6.       This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

                             15   and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court

                             16   pursuant to 28 U.S.C. §§ 1408 and 1409.

                             17                                              BACKGROUND

                             18                 7.       On January 29, 2019 (the “Petition Date”), the Debtors commenced with the
                             19   Court voluntary cases under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

                             20   businesses and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108

                             21   of the Bankruptcy Code. No trustee or examiner has been appointed in either of the Chapter 11 Cases.

                             22   The Debtors’ Chapter 11 Cases are being jointly administered for procedural purposes only pursuant to

                             23   Bankruptcy Rule 1015(b).

                             24                 8.       On February 12, 2019, the United States Trustee (the “U.S. Trustee”) appointed
                             25   an Official Committee of Unsecured Creditors (the “Creditors’ Committee”). On February 15, 2019,
                             26   the U.S. Trustee appointed an Official Committee of Tort Claimants (the “Tort Claimants Committee”
                             27   and, together with the Creditors Committee, the “Committees”). On May 29, 2019, the Court entered
                             28

                              Case: 19-30088         Doc# 2988    Filed: 07/15/19    Entered: 07/15/19 17:17:14      Page 16
                                                                            of 35
                             1    an order appointing Bruce A. Markell as the fee examiner for the Chapter 11 Cases (the “Fee
                             2    Examiner”).
                             3                   9.        Additional    information     regarding    the   circumstances    leading   to   the

                             4    commencement of the Chapter 11 Cases and information regarding the Debtors’ businesses and capital

                             5    structure is set forth in the Amended Declaration of Jason P. Wells in Support of the First Day Motions

                             6    and Related Relief [Docket No. 263] (the “Wells Declaration”).
                             7                                          The Debtors’ Retention of Weil
                             8                   10.       On March 13, 2019, the Debtors filed an application to employ Weil as their

                             9    attorneys, effective as of the Petition Date [Docket No. 864] (the “Retention Application”), which
                             10   application was approved by Order, dated April 9, 2019 [Docket No. 1298] (the “Retention Order”).
                             11   A copy of the Retention Order is annexed hereto as Exhibit A.
                             12                  11.       The Retention Order authorizes the Debtors to compensate and reimburse Weil in
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                             13   accordance with the Bankruptcy Code, the Bankruptcy Rules, the Fee Guidelines, and the Interim
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                             14   Compensation Order. The Retention Order also authorizes the Debtors to compensate Weil at its

                             15   customary hourly rates for services rendered and to reimburse Weil for its actual and necessary expenses

                             16   incurred, subject to application to this Court. Specifically, the Retention Order authorizes Weil to

                             17   provide the following services to the Debtors:

                             18                       •   take all necessary action to protect and preserve the Debtors’ estates,
                                                          including the prosecution of actions on the Debtors’ behalf, the
                             19                           defense of any actions commenced against the Debtors, the
                                                          negotiation of disputes in which the Debtors are involved and the
                             20
                                                          preparation of objections to claims filed against the Debtors’ estates;
                             21
                                                      •   prepare on behalf of the Debtors, as debtors in possession, all
                             22                           necessary motions, applications, answers, orders, reports and other
                                                          pleadings and documents in connection with the administration of
                             23                           the Chapter 11 Cases;
                             24
                                                      •   take all necessary actions in connection with any chapter 11 plan and
                             25                           related disclosure statement and all related documents, and such
                                                          further actions as may be required in connection with the
                             26                           administration of the Debtors’ estates;

                             27                       •   take all necessary actions to protect and preserve the value of the
                                                          Debtors’ estates, and all related matters; and
                             28

                              Case: 19-30088          Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14         Page 17
                                                                               of 35
                             1                     •   perform all other necessary legal services in connection with the
                                                       prosecution of these Chapter 11 Cases; provided, however, that to
                             2                         the extent Weil determines that such services fall outside of the
                                                       scope of services historically or generally performed by Weil as lead
                             3
                                                       debtors’ counsel in a bankruptcy case, Weil will file a supplemental
                             4                         declaration.

                             5                                 Summary of Professional Compensation
                                                              and Reimbursement of Expenses Requested
                             6
                                                 12.    Weil seeks allowance of interim compensation for professional services
                             7
                                  performed during the Compensation Period in the amount of $9,122,288.25 and for reimbursement of
                             8
                                  expenses incurred in connection with the rendition of such services in the amount of $335,824.67.
                             9
                                  During the Compensation Period, Weil attorneys and paraprofessionals expended a total of 9,567.30
                             10
                                  hours in connection with the necessary services performed.
                             11
                                                 13.    There is no agreement or understanding between Weil and any other person, other
                             12
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                                  than members of the firm, for the sharing of compensation to be received for services rendered in these
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                             13
                                  Chapter 11 Cases. Except as set forth below with respect to payments received by Weil pursuant to the
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                             14
                                  Interim Compensation Order, during the Compensation Period, Weil received no payment or promises
                             15
                                  of payment from any source for services rendered or to be rendered in any capacity whatsoever in
                             16
                                  connection with the matters covered by this Application.
                             17
                                                 14.    Prior to the Petition Date, the Debtors paid Weil certain amounts as an advance
                             18
                                  payment retainer for professional services to be performed and expenses to be incurred in connection
                             19
                                  with its representation of the Debtors and in preparation of the Debtors seeking relief under chapter 11.
                             20
                                  Based on a reconciliation of all charges and expenses through the Petition Date, the balance of the
                             21
                                  advance payment retainer as of the Petition Date was approximately $1,548,143.70. Since the Petition
                             22
                                  Date, Weil has received payment from the Debtors of $2,507,154.00 in fees and $113,433.45 for
                             23
                                  reimbursement of expenses pursuant to the Interim Compensation Order.
                             24
                                                 15.    The fees charged by Weil in these Chapter 11 Cases are billed in accordance with
                             25
                                  Weil’s existing billing rates and procedures in effect during the Compensation Period. The rates Weil
                             26
                                  charges for the services rendered by its professionals and paraprofessionals in these chapter 11 cases
                             27
                                  generally are the same rates Weil charges for professional and paraprofessional services rendered in
                             28

                              Case: 19-30088       Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14       Page 18
                                                                            of 35
                             1    comparable bankruptcy and non-bankruptcy related matters. Such fees are reasonable based on the

                             2    customary compensation charged by comparably skilled practitioners in comparable bankruptcy and

                             3    non-bankruptcy cases in a competitive national legal market.

                             4                   16.     The summary sheets contain a schedule of Weil professionals, paraprofessionals,

                             5    and other non-legal staff who have performed services for the Debtors during the Compensation Period,

                             6    the capacities in which each individual is employed by Weil, the department in which each individual

                             7    practices, the hourly billing rate charged by Weil for services performed by such individuals, the year in

                             8    which each attorney was first licensed to practice law, where applicable, and the aggregate number of

                             9    hours expended in this matter and fees billed therefor.

                             10                  17.     The summary sheets also contain a summary of Weil’s hours billed during the

                             11   Compensation Period using project categories described therein and hereinafter described. Weil

                             12   maintains computerized records of the time spent by all Weil attorneys and paraprofessionals in
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                             13   connection with the prosecution of these chapter 11 cases. Copies of these computerized records (as
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                             14   modified to address privileged and confidential matters) have been filed on the docket with Weil’s

                             15   monthly fee statements and furnished to the Debtors, counsel for each of the Committees, the U.S.

                             16   Trustee, and the Fee Examiner in the format specified by the Fee Guidelines.

                             17                  18.     The summary sheets also contain a schedule specifying the categories of expenses

                             18   for which Weil is seeking reimbursement and the total amount for each such expense category. Itemized

                             19   schedules of all such expenses have been filed on the docket with Weil’s monthly fee statements,

                             20   provided to the Debtors, counsel for each of the Committees, the U.S. Trustee, and the Fee Examiner.

                             21                  19.     Annexed hereto as Exhibit B is a certification regarding Weil’s compliance with
                             22   the Fee Guidelines.

                             23                  20.     Annexed hereto as Exhibit C is a summary and comparison of the aggregate
                             24   blended hourly rates billed by Weil’s timekeepers in all domestic offices to non-bankruptcy matters

                             25   during the preceding year on a rolling 12 months year ending June 30, 2019 and the blended hourly rates

                             26   billed to the Debtors during the Compensation Period.

                             27                  21.     Weil discussed its rates, fees, and staffing with the Debtors at the outset of these

                             28   cases. Further, Weil provided the Debtors with estimated budgets in connection with the Debtors’

                              Case: 19-30088       Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14         Page 19
                                                                            of 35
                             1    postpetition financing. A summary of Weil’s budget is attached hereto as Exhibit D. Weil estimated its
                             2    fees for the Compensation Period would be approximately $10,500,000, and the fees sought for the

                             3    Compensation Period are within that estimate. A summary of staffing is attached hereto as Exhibit E.
                             4    Attorneys and paraprofessionals assigned to this matter were necessary to assist with the administration

                             5    of the Chapter 11 Cases, preservation of the Debtors’ assets, and the other matters described herein. The

                             6    Debtors are aware of the complexities of these cases, the many issues that need to be addressed, the

                             7    various disciplines involved, and that staffing needs are dynamic based on a number of factors, many of

                             8    which are unpredictable, including the activities of other parties in interest in these Chapter 11 Cases.

                             9                   22.     To the extent that time or disbursement charges for services rendered or

                             10   disbursements incurred relate to the Compensation Period, but were not processed prior to the

                             11   preparation of this Application, Weil reserves the right to request additional compensation for such

                             12   services and reimbursement of such expenses in a future application.
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                             13                                    Summary of Services Performed by
                                                                  Weil During the Compensation Period
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                             14
                                                 23.     As described above, during the Compensation Period, Weil rendered substantial
                             15
                                  professional services to the Debtors in order to efficiently and economically administer the Chapter 11
                             16
                                  Cases and assist the Debtors in their ongoing restructuring efforts. The following is a summary of the
                             17
                                  significant professional services rendered by Weil during the Compensation Period, organized in
                             18
                                  accordance with Weil’s internal system of project or work codes. 3
                             19
                                         a.      Asset Sales/363 Sales (Task Code 002)
                             20                  Fees: $62,302.50; Total Hours: 75.20
                             21
                                                         •   Advised the Debtors and their other professionals regarding various ordinary
                             22                              course asset sale and purchase transactions and related issues;
                                                         •   Corresponded with the California Public Utilities Commission and other
                             23                              regulatory agencies regarding issues relating to certain asset sale transactions;
                                                         •   Engaged in negotiations and discussions with various third parties regarding
                             24
                                                             discrete asset sale and purchase transactions; and
                             25                          •   Conducted legal research related to the potential sale of certain of the Debtors’
                                                             assets.
                             26

                             27   3
                                    Certain services performed overlap between, or could appropriately be allocated to, more than one
                                  task code. If a task code does not appear below, then Weil did not bill significant time for that task
                             28   code during the Compensation Period.

                              Case: 19-30088       Doc# 2988       Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 20
                                                                             of 35
                             1        b.       Automatic Stay Issues (Task Code 003)
                                               Fees: $805,568.00; Total Hours: 877.70
                             2
                                                      •   Prepared and prosecuted formal and informal responses and objections to
                             3                            numerous motions seeking authority to lift the automatic stay;
                             4                        •   Prepared stipulations modifying the automatic stay for limited purposes;
                                                      •   Prepared various letters and correspondence to creditors and other parties
                             5                            regarding potential violations of the automatic stay, including actions with
                                                          respect to the postpetition commencement or continuation of litigation with
                             6                            respect to prepetition claims, demands for immediate payment of prepetition
                             7                            claims, and attempted terminations of executory contracts and unexpired
                                                          leases;
                             8                        •   Commenced an adversary proceeding and successfully extended the
                                                          automatic stay under section 362 of the Bankruptcy Code to certain non-
                             9                            debtor employees and other defendants;
                                                      •   Conducted legal and factual research regarding potential violations of and
                             10
                                                          other issues relating to the automatic stay; and
                             11                       •   Participated on teleconferences with the Debtors and their various outside
                                                          counsel regarding the Debtors’ prepetition litigation and the impact of the
                             12                           Chapter 11 Cases and the automatic stay thereon.
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                             13       c.       Bar Date Motion/Claims Reconciliation/Claim Reconciliation Issues (Task Code 005)
                                               Fees: $208,136.50; Total Hours: 202.90
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                             14

                             15                       •   Prepared, drafted, and filed an application seeking to establish a last date to
                                                          file claims in the Chapter 11 Cases and the approval of traditional and non-
                             16                           traditional noticing procedures relating thereto, including broad supplemental
                                                          notice procedures designed to provide notice of such deadline to the Debtors’
                             17                           approximately 16 million customers and to wildfire claimants;
                                                      •   Coordinated with the Debtors’ claims and noticing agent, Prime Clerk LLC
                             18
                                                          (“Prime Clerk”), and other professionals regarding the proposed bar date and
                             19                           related noticing procedures;
                                                      •   Conferred with the U.S. Trustee, counsel for each of the Committees, and
                             20                           other parties in interest regarding the proposed deadlines and noticing
                                                          procedures; and
                             21                       •   Conferred with the Debtors and their other advisors regarding various claim
                             22                           related issues.

                             23       d.       Case Administration (docket updates, WIP, and calendar) (Task Code 006)
                                               Fees: $99,237.50; Total Hours: 176.00
                             24
                                                      •   Coordinated and supervised service of the Notice of Commencement of the
                             25                           Chapter 11 Cases and first day pleadings;
                                                      •   Maintained ongoing work-in-progress and assignment list and case calendar
                             26
                                                          for use by Weil, the Debtors, and the Debtors’ other advisors;
                             27                       •   Coordinated with and assisted Prime Clerk in establishing and maintaining a
                                                          website containing information regarding the docket, the Debtors, meetings
                             28                           of creditors, and copies of relevant documents;

                              Case: 19-30088    Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 21
                                                                         of 35
                             1                       •   Prepared, filed, and coordinated service of various pleadings with Prime
                                                         Clerk;
                             2                       •   Reviewed and responded to emails, calls and correspondence from creditors
                             3                           and other parties in interest; and
                                                     •   Prepared and distributed periodic docket updates and client summaries.
                             4
                                      e.       Chapter 11 Plan/Plan Confirmation (Task Code 008)
                             5                 Fees: $59,826.50; Total Hours: 50.30
                             6                       •   Conducted numerous internal and external team meetings, conferences, and
                                                         teleconferences with the Debtors, their other professionals, and key economic
                             7                           stakeholders regarding potential terms and structure of a chapter 11 plan.
                             8
                                      f.       Communications with Client (Task Code 009)
                             9                 Fees: $97,325.00; Total Hours: 91.80

                             10                      •   Conducted numerous conferences and teleconferences with the Debtors and
                                                         their other professionals regarding the status and administration of the Chapter
                             11                          11 Cases, various motions and pleadings, hearing updates, negotiations with
                                                         key economic stakeholders, and compliance with the U.S. Trustee guidelines;
                             12
                                                         and
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                                                     •
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                             13                          Consulted with and advised the Debtors on all pleadings filed in these Chapter
                                                         11 Cases.
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                             14
                                      g.       Corporate Governance and Board Issues (Task Code 010)
                             15                Fees: $489,384.00; Total Hours: 427.50
                             16                      •   Prepared for and attended meetings of the Debtors’ Board of Directors and
                             17                          various subcommittees;
                                                     •   Reviewed Board resolutions and advised the Debtors’ directors and officers
                             18                          on issues related to the Debtors’ Chapter 11 Cases;
                                                     •   Reviewed and commented on drafts of various public filings and related
                             19                          documents including, without limitation, drafts of Forms 10-K, Forms 10-Q,
                             20                          Forms 8-Ks, and associated documents, and engaged in conferences and
                                                         correspondence with the Debtors and their other advisors regarding same;
                             21                      •   Researched various corporate governance issues and advised the Debtors and
                                                         their other professionals regarding same; and
                             22                      •   Performed and coordinated document review and productions in response to
                                                         various governmental and regulatory requests;
                             23

                             24       h.       Customer, Supplier and Vendor Issues (Task Code 011)
                                               Fees: $241,226.00; Total Hours: 245.20
                             25
                                                     •   Conferred regularly with the Debtors and professionals at AP Services, LLC
                             26                          (“AlixPartners”) regarding various creditor, vendor, supplier, and customer
                                                         communications and inquiries;
                             27                      •   Sought and obtained interim and final Court approval to pay prepetition claims
                             28                          of certain operational integrity suppliers and other vendors, shippers, and
                                                         lienholders, as well as court authority to continue the vast and complex array

                              Case: 19-30088    Doc# 2988     Filed: 07/15/19     Entered: 07/15/19 17:17:14         Page 22
                                                                        of 35
                             1                            of the Debtors’ customer and public purpose programs, and engaged in
                                                          discussions and negotiations with counsel for the Committees and other
                             2                            parties in interest regarding same;
                                                      •   Addressed numerous inquiries from vendors and suppliers regarding potential
                             3
                                                          operational integrity status;
                             4                        •   Advised the Debtors and their other professionals regarding various vendor
                                                          and customer related issues;
                             5                        •   Drafted, reviewed, and revised various vendor-related communication
                                                          materials; and
                             6
                                                      •   Negotiated and reviewed issues relating to vendor agreements, conducted
                             7                            related research, and conferred with the Debtors and other parties in interest
                                                          regarding same.
                             8
                                      i.       DIP Financing/Cash Mgmt./Hedging Transactions (Task Code 012)
                             9                 Fees: $103,293.50; Total Hours: 100.00
                             10                       •   Assisted the Debtors and their other professionals in securing Court approval
                             11                           of a $5.5 billion debtor-in-possession (“DIP”) financing facility;
                                                      •   Participated in negotiations with counsel for the DIP lenders and the
                             12                           Committees regarding the interim DIP order;
                                                      •   Participated in calls and negotiations with the DIP lenders, the Debtors and
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 New York, NY 10153-0119




                             13                           other professionals regarding obtaining approval of the DIP Financing on a
                                                          final basis;
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                             14
                                                      •   Engaged in discussions and negotiations with the U.S. Trustee and other
                             15                           parties in interest regarding the continued use of the Debtors’ cash
                                                          management system;
                             16                       •   Filed and obtained approval of the Debtors’ Motion to (A) Continue Hedging
                                                          Programs, (B) Enter Into and Perform under Postpetition Hedging
                             17
                                                          Transactions, and (C) Pledge Collateral and Honor Obligations Thereunder
                             18                           [Docket No. 780].

                             19       j.       Employee Issues (Task Code 014)
                                               Fees: $1,368,222.00; Total Hours: 1,240.20
                             20
                                                      •   Drafted and secured approval of first-day and supplemental motions to pay
                             21                           prepetition employee wages and continue certain employee benefits
                                                          programs;
                             22
                                                      •   Advised the Debtors regarding various issues with respect to employee wages,
                             23                           compensation, and other programs;
                                                      •   Participated in numerous conferences and teleconferences with the Debtors,
                             24                           their other professionals, the Debtors’ Board of Directors, and members of the
                                                          Debtors’ Compensation Committee regarding, among other things, employee
                             25
                                                          compensation, incentive programs, and benefits terms and programs;
                             26                       •   Prepared and filed a motion seeking approval of a 2019 short-term incentive
                                                          plan covering approximately 10,000 of the Debtors’ non-insider employees
                             27                           and participated in related depositions and discovery with the Committees and
                                                          other parties in interest; and
                             28

                              Case: 19-30088    Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14       Page 23
                                                                         of 35
                             1                        •   Reviewed documents in response to requests from the U.S. Trustee and the
                                                          Committees in connection with first-day motion to pay prepetition employee
                             2                            wages and continue benefits programs, and participated in teleconferences
                                                          with the Debtors and their compensation consultant regarding same.
                             3

                             4        k.       Exclusivity (Task Code 016)
                                               Fees: $35,731.50; Total Hours: 33.30
                             5
                                                      •   Prepared a motion, proposed order, and supporting declaration seeking a first
                             6                            extension of the Debtors’ exclusive periods in which to file a chapter 11 plan
                                                          and solicit votes thereon.
                             7
                                      l.       Executory Contracts/Lease Issues (Task Code 017)
                             8
                                               Fees: $268,124.00; Total Hours: 344.10
                             9
                                                      •   Analyzed various executory contracts and unexpired leases and the Debtors’
                             10                           rights thereunder;
                                                      •   Participated on numerous teleconferences with the Debtors and their other
                             11                           professionals regarding treatment of various executory contracts and
                             12                           unexpired leases;
                                                      •   Advised the Debtors on issues relating to energy procurement and purchase
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 New York, NY 10153-0119




                             13                           agreements and participated in numerous teleconferences with the Debtors
                                                          and counterparties regarding same;
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                             14                       •   Prepared and filed stipulations with various contract counterparties, including
                                                          Enel Green Power North America, Inc., regarding the application of the
                             15
                                                          automatic stay and the treatment of claims under the applicable agreements
                             16                           and engaged in discussions with the Debtors, AlixPartners, counsel for each
                                                          of the Committees, and opposing counsel regarding same;
                             17                       •   Drafted and filed Motion of Debtors Pursuant to 11 U.S.C. § 365(a), Fed. R.
                                                          Bankr. P. 6006, and B.L.R. 6006-1 for an Order Approving the Utility’s
                             18                           Assumption of Certain Agreements with Quanta Energy Services, LLC
                             19                           [Docket No. 1218] relating to the provision of critical infrastructure services
                                                          to support the safety and integrity of the Utility’s electric and gas
                             20                           infrastructure; and
                                                      •   Obtained Court approval of the Debtors’ Corrected Motion to Continue
                             21                           Performance under Prepetition Settlement Agreement with Butte County
                                                          District Attorney’s Office [Docket No. 770], which authorized the Debtors to
                             22                           fund an enhanced wildfire prevention and communication program.
                             23
                                      m.       General Case Strategy (includes calls with client and team calls) (Task Code 018)
                             24                Fees: $614,500.50; Total Hours: 580.40

                             25                       •   Participated in numerous team meetings, conferences, and teleconferences
                                                          among Weil, the Debtors, and the Debtors’ other advisors regarding the status
                             26                           and administration of the Chapter 11 Cases and general case strategy; and
                             27                       •   Reviewed and responded to various correspondence regarding the Chapter 11
                                                          Cases and various related issues.
                             28

                              Case: 19-30088     Doc# 2988     Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 24
                                                                         of 35
                             1           n.      Hearings and Court Matters (Task Code 019)
                                                 Fees: $419,097.50; Total Hours: 401.00
                             2
                                                         •   Prepared for and attended numerous in-person and telephonic hearings before
                             3                               the Court, including the first and second day hearings, approximately eleven
                             4                               (11) omnibus hearings, and various discovery and status conferences;
                                                         •   Reviewed agenda letters and coordinated with local counsel and the Court
                             5                               regarding hearings and agenda items;
                                                         •   Prepared pleadings, exhibits, and other documents for hearings; and
                             6                           •   Responded to inquiries from the Court regarding pleadings and case
                             7                               administration issues.

                             8           o.      Non-Bankruptcy Litigation (Task Code 021)
                                                 Fees: $132,348.00; Total Hours: 156.50
                             9
                                                         •   Coordinated with the Debtors’ in-house legal team and other legal advisors
                             10                              regarding prepetition litigation, including complaints against directors and
                                                             officers; and
                             11
                                                         •   Responded to various inquiries from the Debtors and other parties in interest
                             12                              regarding the status of prepetition actions and settlements.
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                             13          p.      Non-Working Travel (Task Code 022) 4
                                                 Fees: $337,907.75; Total Hours: 517.60
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                             14
                                                         •   Traveled to and from the Debtors’ offices in San Francisco, Court hearings,
                             15                              and meetings with creditors and other parties in interest.
                             16
                                         q.      FERC Adversary Proceeding (Task Code 023)
                             17                  and Bankruptcy Litigation (Task Code 004)
                                                 Fees: $1,539,901.00; Total Hours: 1,751.80
                             18
                                                         •   Filed an adversary proceeding and successfully enjoined FERC from
                             19                              interfering with the Utility’s ability to assume or reject its power purchase
                                                             agreements; and
                             20
                                                         •   Prosecuted and defended the Debtors in connection with various other
                             21                              adversary proceedings, including a proceeding commenced by the Debtors
                                                             against the Public Employees Retirement Association of New Mexico, a
                             22                              proceeding commenced against the Debtors by AECOM Technical Services,
                                                             Inc., and a proceeding commenced against the Debtors by David Herndon and
                             23                              others.
                             24

                             25
                                  4
                                    Non-working travel is billed at 50% of regular hourly rates, consistent with the U.S. Trustee guidelines
                             26   for chapter 11 cases filed in the Southern District of New York and the District of Delaware. In light of
                                  the significant travel time required for professionals at Weil to attend the numerous hearings,
                             27   conferences, and other meetings in these large and complex cases, notwithstanding anything to the
                                  contrary in the Fee Guidelines, Weil believes that payment of non-working travel at 50% of regular
                             28   hourly rates is reasonable and appropriate.

                              Case: 19-30088       Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 25
                                                                            of 35
                             1        r.       Reclamation/503(b)(9) Claims (Task Code 024)
                                               and Administrative Expense Claims (Task Code 001)
                             2                 Fees: $42,670.50; Total Hours: 64.60
                             3                        •   Drafted, filed, and obtained Court approval of global and exclusive procedures
                             4                            for the treatment and resolution of reclamation claims and claims brought
                                                          pursuant to section 503(b)(9) of the Bankruptcy Code (“503(b)(9) Claims”);
                             5                        •   Coordinated with AlixPartners and the Debtors to reconcile and review
                                                          reclamation demands and 503(b)(9) Claims; and
                             6                        •   Conducted legal research regarding reclamation demands and status and
                             7                            treatment of potential claims entitled to administrative expense status under
                                                          the Bankruptcy Code.
                             8
                                      s.       Regulatory Issues (including CPUC and FERC) (Task Code 025)
                             9                 Fees: $211,961.50; Total Hours: 188.00

                             10                       •   Advised the Debtors with regard to the impact of and interplay between the
                             11                           Chapter 11 Cases and ongoing proceedings before the California Public
                                                          Utility Commission (“CPUC”) and FERC;
                             12                       •   Negotiated with the CPUC regarding certain motions and requests for relief,
                                                          including the Debtors’ motion for authority to continue certain customer and
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                             13                           public purpose programs;
                                                      •   Provided periodic updates on the status of the Chapter 11 Cases to the CPUC
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                             14
                                                          and other regulatory agencies; and
                             15                       •   Participated on calls with the Debtors’ senior management and other advisors
                                                          regarding resolution of certain environmental claims and potential claims of
                             16                           governmental units.
                             17       t.       Retention/Billing/Fee Applications: WGM (Task Code 026)
                                               Fees: $74,887.00; Total Hours: 111.00
                             18
                                                      • Sought and obtained Court approval of the terms of Weil’s engagement by the
                             19                          Debtors;
                                                      • Drafted and filed supplemental declarations in support of Weil’s engagement;
                             20                          and
                                                      • Prepared and filed monthly fee statements in accordance with the Interim
                             21                          Compensation Order.
                             22
                                      u.       Retention/Fee Application: Ordinary Course Professionals (Task Code 027)
                             23                Fees: $42,637.00; Total Hours: 63.20

                             24                       •   Prepared, reviewed, and filed motions for the Debtors to retain approximately
                                                          70 professionals in the ordinary course of business;
                             25                       •   Drafted and reviewed retention questionnaires and declarations;
                             26                       •   Coordinated filing and service of ordinary course professional materials; and
                                                      •   Conferred with the Debtors and ordinary course professionals regarding
                             27                           retention procedures and conflicts issues.

                             28

                              Case: 19-30088    Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14       Page 26
                                                                         of 35
                             1        v.       Retention/Fee Application: Other Professionals (Task Code 028)
                                               Fees: $283,017.50; Total Hours: 409.60
                             2
                                                      •   Drafted and filed a motion establishing procedures for interim compensation
                             3                            of retained professionals;
                             4                        •   Drafted and/or reviewed and revised applications to retain approximately
                                                          fourteen professionals by the Debtors, including Prime Clerk, LLC, AP
                             5                            Services LLC, Lazard Freres & Co., PricewaterhouseCoopers LLP, and
                                                          Jenner & Block LLP, and assisted with related declarations;
                             6                        •   Participated in contested and uncontested hearings regarding retention
                             7                            applications filed by the Debtors and the Committees;
                                                      •   Conferred with various applicants regarding their scope of retention, terms of
                             8                            compensation, and related issues;
                                                      •   Conferred extensively with the U.S. Trustee regarding various retention
                             9                            issues;
                                                      •   Reviewed monthly fee statements of various professionals; and
                             10
                                                      •   Coordinated filing and service of monthly fee statements for various
                             11                           professionals.

                             12       w.       Schedules/Statement of Financial Affairs (Task Code 029)
                                               Fees: $54,903.50; Total Hours: 52.90
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 New York, NY 10153-0119




                             13
                                                      •   Conducted internal team meetings, conferences, and teleconferences with
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                             14
                                                          AlixPartners and the Debtors regarding preparation of the Debtors’ Schedules
                             15                           and Statements;
                                                      •   Reviewed and revised drafts of the Schedules and Statements; and
                             16                       •   Conducted legal research regarding various issues related to same.
                             17       x.       Tax Issues (Task Code 030)
                                               Fees: $515,721.00; Total Hours: 430.90
                             18
                             19                       •   Filed, and secured approval of first-day and supplemental motions to pay
                                                          certain prepetition taxes and fees in the ordinary course of business and
                             20                           engaged in discussions and negotiations with the Committees and other parties
                                                          in interest regarding same;
                             21                       •   Filed a motion seeking approval of certain procedures and restrictions relating
                                                          to the Debtors’ debt and equity securities to protect the potential value of the
                             22
                                                          Debtors’ consolidated net operating loss carryforwards and other tax benefits
                             23                           (the “NOL Motion”);
                                                      •   Represented the Debtors at multiple hearings on the NOL Motion and
                             24                           negotiated consensual resolution of all objections thereto; and
                                                      •   Participated in internal conferences and teleconferences with the Debtors, and
                             25
                                                          their other professionals in connection with potential tax consequences of
                             26                           various proposed and/or pursued transactions in the Chapter 11 Cases.

                             27

                             28

                              Case: 19-30088    Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14         Page 27
                                                                         of 35
                             1        y.       US Trustee Issues/Meetings/Communications/
                                               Monthly Operating Report (Task Code 031)
                             2                 Fees: $91,414.00; Total Hours: 82.40
                             3                        •   Conferred on a regular basis with, and responded to numerous diligence
                             4                            requests from, the U.S. Trustee, including with respect to various first day
                                                          motions, retention issues, hearing items, cash management issues, and the
                             5                            Section 341 Meeting;
                                                      •   Prepared for and attended initial and continued Section 341 Meetings;
                             6                        •   Reviewed and revised notices of Section 341 Meetings and coordinated
                             7                            service thereof with Prime Clerk;
                                                      •   Responded to U.S. Trustee’s diligence requests related to various motions
                             8                            filed by the Debtors;
                                                      •   Assisted the Debtors and AlixPartners with the preparation, review, and
                             9                            submission of monthly operating reports to the U.S. Trustee and related issues;
                                                          and
                             10
                                                      •   Assisted the Debtors with the preparation of Bankruptcy Rule 2015.3 Report.
                             11
                                      z.       Unsecured Creditors Issues/Communications/Meetings (Task Code 032)
                             12                Fees: $193,288.50; Total Hours: 192.90
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                             13                       •   Prepared for and attended formation meeting of the Creditors’ Committee;
                                                      •   Prepared for and participated in regular meetings and teleconferences with the
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                             14
                                                          Creditors’ Committee and its professionals regarding the status and
                             15                           administration of the Chapter 11 Cases, pending motions, chapter 11 plan
                                                          related matters, and various other related issues;
                             16                       •   Advised the Debtors and responded to and successfully opposed motions
                                                          seeking to establish official committees of public entity claimants and
                             17                           ratepayers;
                             18                       •   Prepared and filed responses to Creditors’ Committee objections to certain of
                                                          the Debtors’ pleadings; and
                             19                       •   Reviewed and produced documents in connection with various document
                                                          requests made by the Creditors’ Committee.
                             20
                                      aa.      Utility Issues/Adequate Assurance (Task Code 033)
                             21                Fees: $15,896.00; Total Hours: 21.20
                             22
                                                      •   Reviewed and revised proposed order approving the Utilities Motion;
                             23                       •   Assisted the Debtors in maintaining various utility services and in responding
                                                          to adequate assurance demands and other inquiries from utility providers; and
                             24                       •   Participated in teleconferences with utility providers regarding adequate
                                                          assurance and drafted agreements to resolve issues with respect thereto.
                             25

                             26       bb.      Real Estate and Real Property Issues (Task Code 035)
                                               Fees: $569,605.50; Total Hours: 544.00
                             27
                                                      •   Reviewed various real property agreements, leases, and easement agreements
                             28                           and advised the Debtors on issues related thereto;

                              Case: 19-30088    Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 28
                                                                         of 35
                             1                            •   Drafted, filed, and obtained Court approval of a motion to enter into certain
                                                              real estate transactions and engaged in discussions and negotiations with the
                             2                                professionals for each of the Committees and other constituencies regarding
                                                              same; and
                             3
                                                          •   Participated in regular calls with the Debtors’ real estate team and other
                             4                                advisors regarding real property transactions and related issues.

                             5           cc.     Tort Claimants Committee, including Wildfire Claimants (Task Code 036)
                                                 Fees: $136,887.00; Total Hours: 130.00
                             6
                                                          •   Prepared for and attended formation meeting of the Tort Claimants
                             7
                                                              Committee;
                             8                            •   Prepared for and participated in meetings and teleconferences with the Tort
                                                              Claimants Committee and its professionals regarding the status and
                             9                                administration of the Chapter 11 Cases, pending motions, chapter 11 plan
                                                              related matters, and various other issues;
                             10                           •   Prepared and filed responses to Tort Claimants Committee various objections
                             11                               to certain of the Debtors’ pleadings; and
                                                          •   Reviewed and produced documents in connection with Tort Claimants
                             12                               Committee document requests.
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                             13                  24.      The foregoing is merely a summary of the various professional services rendered
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                             14   by Weil during the Compensation Period. The professional services performed by Weil were necessary
                             15   and appropriate to the administration of the Chapter 11 Cases and were in the best interests of the Debtors
                             16   and the estates. Compensation for such services as requested is commensurate with the complexity,
                             17   importance, and nature of the issues and tasks involved.
                             18                  25.      The professional services performed by partners, counsel, and associates of Weil
                             19   were primarily rendered by the Business Finance & Restructuring, Corporate, Tax, and Litigation
                             20   Departments. As set forth in the Retention Application, Weil has a preeminent Business Finance &
                             21   Restructuring practice and enjoys a national reputation for its expertise in financial reorganizations and
                             22   restructurings of troubled entities. Weil also has the foremost experts with respect to tax matters in
                             23   reorganization cases.
                             24                  26.      The professional services performed by Weil on behalf of the Debtors during the
                             25   Compensation Period required an aggregate expenditure of 9,567.30 recorded hours by Weil’s partners,
                             26   counsel, associates, paraprofessionals, and other non-legal staff. Of the aggregate time expended,
                             27   3,677.60 recorded hours were expended by partners and counsel of Weil, 5,697.60 recorded hours were
                             28

                              Case: 19-30088       Doc# 2988       Filed: 07/15/19    Entered: 07/15/19 17:17:14         Page 29
                                                                             of 35
                             1    expended by associates, and 192.10 recorded hours were expended by paraprofessionals and other non-

                             2    legal staff of Weil.

                             3                    27.    During the Compensation Period, Weil billed the Debtors for time expended by

                             4    attorneys based on hourly rates ranging from $1,600.00 to $560.00 per hour for attorneys. Allowance

                             5    of compensation in the amount requested would result in a blended hourly billing rate of approximately

                             6    $966.99 (based on 9,375.20 recorded hours for attorneys at Weil’s billing rates in effect at the time of

                             7    the performance of services).

                             8                                 Actual and Necessary Disbursements of Weil

                             9                    28.    Weil has disbursed $335,824.67 as expenses incurred in providing professional
                             10   services during the Compensation Period. These expenses are reasonable and necessary and were
                             11   essential to, among other things, timely respond to motions and objections and the overall administration
                             12   of these Chapter 11 Cases.
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                             13                   29.    Weil has not charged the Debtors for any overtime expenses. Consistent with
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                             14   firm policy, attorneys and other employees of Weil who worked late into the evenings, on weekends or
                             15   holidays, or were traveling in connection with these Chapter 11 Cases were reimbursed for their
                             16   reasonable meal costs and their cost for transportation home from the office. Weil’s regular practice is
                             17   not to include components for those charges in overhead when establishing billing rates and to charge
                             18   its clients for these and all other out-of-pocket disbursements incurred during the regular course of the
                             19   rendition of services. The amounts for which Weil is seeking reimbursement for reasonable meal costs
                             20   are consistent with the local practice for chapter 11 cases filed in the Southern District of New York and
                             21   the District of Delaware.
                             22                   30.    With respect to photocopying expenses, as set forth in the Retention Application,
                             23   Weil charges all of its clients $.10 per page; for color copies, Weil charges $.50 per page. Except as set
                             24   forth herein, each of these categories of expenses does not exceed the maximum rate set by the Local
                             25   Guidelines. These charges are intended to cover Weil’s direct operating costs, which costs are not
                             26   incorporated into the Weil hourly billing rates. Only clients who actually use services of the types set
                             27   forth in the summary sheet are separately charged for such services. The effect of including such
                             28

                              Case: 19-30088        Doc# 2988     Filed: 07/15/19     Entered: 07/15/19 17:17:14        Page 30
                                                                            of 35
                             1    expenses as part of the hourly billing rates would impose that cost upon clients who do not require

                             2    extensive photocopying and other facilities and services. The amount of the standard photocopying

                             3    charge is intended to allow Weil to cover the related expenses of its photocopying service and represents

                             4    a good faith estimate of the actual cost of the copies. A determination of the actual expenses per page

                             5    for photocopying, however, is dependent on both the volume of copies and the total expenses attributable

                             6    to photocopying on an annual basis.

                             7                   31.     On certain occasions, overnight delivery of documents and other materials was

                             8    required as a result of circumstances necessitating the use of such express services. These disbursements

                             9    are not included in Weil’s overhead for the purpose of setting billing rates. Weil has made every effort

                             10   to minimize its disbursements in these Chapter 11 Cases. The actual expenses incurred in providing

                             11   professional services were necessary, reasonable, and justified under the circumstances to serve the

                             12   needs of the Debtors, their estates, and their economic stakeholders.
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                             13                             The Requested Compensation Should Be Allowed
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                             14                  32.     Section 331 of the Bankruptcy Code provides for interim compensation of

                             15   professionals and incorporates the substantive standards of section 330 to govern the Court’s award of

                             16   such compensation. 11 U.S.C. § 331. Section 330 of the Bankruptcy Code provides that a Court may

                             17   award a professional employed under section 327 of the Bankruptcy Code “reasonable compensation for

                             18   actual, necessary services rendered [and] reimbursement for actual, necessary expenses.” 11 U.S.C.
                             19   § 330(a)(1).   Section 330 also sets forth the criteria for the award of such compensation and

                             20   reimbursement:

                             21                    In determining the amount of reasonable compensation to be
                                                   awarded to [a] professional person, the court shall consider the
                             22                    nature, the extent, and the value of such services, taking into
                                                   account all relevant factors, including –
                             23

                             24                          (A)     the time spent on such services;

                             25                          (B)     the rates charged for such services;

                             26                          (C)     whether the services were necessary to the administration
                                                                 of, or beneficial at the time at which the service was
                             27                                  rendered toward the completion of, a case under this title;

                             28

                              Case: 19-30088        Doc# 2988     Filed: 07/15/19     Entered: 07/15/19 17:17:14       Page 31
                                                                            of 35
                             1                          (D)     whether the services were performed within a reasonable
                                                                amount of time commensurate with the complexity,
                             2                                  importance, and nature of the problem, issue, or task
                                                                addressed; and
                             3
                                                        (E)     with respect to a professional person, whether the person is
                             4                                  board certified or otherwise has demonstrated skill and
                                                                experience in the bankruptcy field; and
                             5
                                                        (F)     whether the compensation is reasonable based on the
                             6                                  customary compensation charged by comparably skilled
                                                                practitioners in cases other than cases under this title.
                             7
                                  Id. § 330(a)(3).
                             8                    33.   In the instant case, Weil submits that the services for which it seeks compensation
                             9    and the expenditures for which it seeks reimbursement in this Application were necessary for and
                             10   beneficial to the preservation and maximization of value for all stakeholders and to the orderly
                             11   administration of the Chapter 11 Cases. Such services and expenditures were necessary to and in the
                             12   best interests of the Debtors’ estates, creditors, and all other parties in interest. The compensation
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                             13   requested herein is reasonable and appropriate in light of the nature, extent, and value of such services
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                             14   to the Debtors, as well as the size and complexity of these Chapter 11 Cases.
                             15                  34.    The professional services were performed expediently and efficiently. Whenever
                             16   possible, Weil sought to minimize the costs of its services to the Debtors by utilizing talented junior
                             17   attorneys and paraprofessionals to handle the more routine aspects of case administration.
                             18                  35.    In sum, the services rendered by Weil were necessary and beneficial to the
                             19   Debtors’ estates and were consistently performed in a timely manner commensurate with the complexity,
                             20   importance, and nature of the issues involved.       Accordingly, approval of the compensation for
                             21   professional services and reimbursement of expenses sought herein is warranted.
                             22
                                                                                   Notice
                             23                  36.    Notice of this Application has been provided to parties in interest in accordance
                             24   with the procedures set forth in the Interim Compensation Order. Weil submits that, in view of the facts
                             25   and circumstances, such notice is sufficient and no other or further notice need be provided.
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                              Case: 19-30088       Doc# 2988      Filed: 07/15/19    Entered: 07/15/19 17:17:14        Page 32
                                                                            of 35
                             1                                                 Conclusion
                             2                  37.     Weil respectfully requests that the Court (i) award an interim allowance of Weil’s

                             3    compensation for professional services rendered during the Compensation Period in the amount of

                             4    $9,458,112.92, consisting of $9,122,288.25, representing 100% of fees incurred during the

                             5    Compensation Period, and reimbursement of $335,824.67, representing 100% of actual and necessary

                             6    expenses incurred during the Compensation Period, and that such allowance be without prejudice to

                             7    Weil’s right to seek additional compensation for services performed and expenses incurred during the

                             8    Compensation Period, which were not processed at the time of this Application, (ii) direct payment by

                             9    the Debtors of the difference between the amounts allowed and any amounts previously paid by the

                             10   Debtors pursuant to the Interim Compensation Order, and (iii) grant such other and further relief as is

                             11   just.

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Weil, Gotshal & Manges LLP

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                              Case: 19-30088      Doc# 2988      Filed: 07/15/19     Entered: 07/15/19 17:17:14       Page 33
                                                                           of 35
                             1    Dated: July 15, 2019

                             2                                         WEIL, GOTSHAL & MANGES LLP
                             3                                          By: /s/ Stephen Karotkin
                                                                             Stephen Karotkin
                             4
                                                                        Attorneys for Debtors and Debtors in Possession
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                              Case: 19-30088      Doc# 2988   Filed: 07/15/19   Entered: 07/15/19 17:17:14     Page 34
                                                                        of 35
                             1                                                Notice Parties

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                                  c/o Pacific Gas & Electric Company
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                             6    San Francisco, CA 94108
                                  Attn: Tobias S. Keller, Esq.,
                             7           Jane Kim, Esq.

                             8    The Office of the United States Trustee for Region 17
                                  450 Golden Gate Avenue, 5th Floor, Suite #05-0153
                             9    San Francisco, CA 94102
                                  Attn: James L. Snyder, Esq.,
                             10          Timothy Laffredi, Esq.

                             11   Milbank LLP
                                  55 Hudson Yards
                             12   New York, NY 10001-2163
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                              Case: 19-30088       Doc# 2988       Filed: 07/15/19   Entered: 07/15/19 17:17:14   Page 35
                                                                             of 35
